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16                                    THE UNITED STATES DISTRICT COURT
                                      NORTHERN DISTRICT OF CALIFORNIA
17                                                OAKLAND
18

19   CISCO SYSTEMS, INC., a California                 CASE NO. 4:19-cv-07562-PJH
     Corporation, CISCO TECHNOLOGY, INC., a
20   California Corporation                            DEFENDANT PLANTRONICS, INC.’S
                                                       NOTICE OF MOTION AND MOTION TO
21                               Plaintiffs,           EXCLUDE THE EXPERT TESTIMONY
                                                       OF DOMINIC PERSECHINI
22            v.
                                                       [Declaration of Michelle Lowery, filed
23   WILSON CHUNG, JAMES HE, JEDD                      concurrently herewith; [Proposed] Order lodged
     WILLIAMS, and THOMAS PUORRO,                      concurrently herewith]
24   individuals, and PLANTRONICS, INC. dba
     POLY, a Delaware Corporation                      Date: January 18, 2023
25                                                     Time: 1:30 p.m.
                                 Defendants.           Judge: Hon. Phyllis J. Hamilton
26

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      DEFENDANT PLANTRONICS, INC.’S NOTICE OF MOTION AND MOTION TO EXCLUDE
      THE TESTIMONY OF DOMINIC PERSECHINI
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1                                     NOTICE OF MOTION AND MOTION

2             PLEASE TAKE NOTICE that on January 18, 2023, at 1:30 p.m. in the District Court for the

3    Northern District of California, Oakland Division, Defendant Plantronics, Inc. (“Poly”) will and

4    hereby do move pursuant to Federal Rule of Evidence 702 and Daubert v. Merrell Dow Pharms, Inc.,

5    509 U.S. 579 (1993), for an order excluding the testimony of Plaintiffs Cisco Systems, Inc. and Cisco

6    Technology, Inc.’s (collectively, “Cisco”) damages expert Domonic Persechini.

7             For the reasons stated in Poly’s Memorandum of Points and Authorities, Poly requests that

8    the Court exclude Mr. Persechini’s expert testimony in its entirety.

9                              MEMORANDUM OF POINTS AND AUTHORITIES

10            Cisco seeks to have its damages expert, Dominic Persechini, offer purported expert opinion

11   regarding arbitrary damages figures untethered to the facts of this case. Mr. Persechini’s opinion

12   falls far below the relevance and reliability requirements of Federal Rule of Evidence 702 and

13   Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579 (1993), and should be excluded in its entirety

14   for the following four independent reasons.

15            First, Mr. Persechini’s entire reasonable royalty opinion fails the relevance requirement of

16   Daubert because it does not “fit” the facts of the case. Mr. Persechini has simply cloaked a wholly

17   flawed and unreliable opinion on damages within a Georgia-Pacific hypothetical negotiation that is

18   devoid of any connection to the actual facts of the case. Indeed, Mr. Persechini erroneously assumes,

19   without explanation or analysis, that a party that never used a trade secret would pay a reasonable

20   royalty for that trade secret. Given that he admits that Poly never used the alleged trade secrets at

21   any point in time, the entire premise of his reasonable royalty opinion—that a willing licensee would

22   pay for a license it knows it has not and will not use—is fundamentally flawed. Additionally, Mr.

23   Persechini’s use of all of Cisco’s forecasted development costs as the starting point for his presumed

24   baseline royalties is based on the unsupported assumption that Cisco’s entire investment in Projects

25   Sunkist and Polaris (the only categories of trade secrets at issue here) could be lost, despite that Mr.

26   Persechini admits that none of the investment was actually lost, and both parties to the hypothetical

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1    negotiation would know that the none of the investment was actually lost. The opinion does not meet

2    the requirements of Rule 702 and Daubert.

3             Second, Mr. Persechini’s opinion should be further excluded as unreliable because he uses

4    Cisco’s forecasted development costs to calculate his baseline royalties. Indeed, Mr. Persechini fails

5    to analyze and explain why Cisco’s forecasted development costs is a reliable metric for Poly’s

6    development costs, which is his entire flawed starting point for the ultimate royalty he assumes Poly

7    would pay in a hypothetical Georgia-Pacific negotiation. Additionally, Mr. Persechini’s blind

8    reliance of Cisco’s forecasted development costs without any independent testing is unreliable,

9    particularly in light of the fact that Mr. Persechini’s own analysis of Cisco’s forecasted revenue shows

10   that Cisco’s forecasting is not accurate.

11            Third, Mr. Persechini admits that the allegedly disclosed trade secrets are only a part of

12   Projects Sunkist and Polaris, yet he admittedly fails to properly apportion between the parts of the

13   projects that relate to the alleged trade secrets and the non-trade secret components.            More

14   specifically, Mr. Persechini uses the entirety of Cisco’s alleged forecasted development costs for

15   Projects Sunkist and Polaris without apportioning out the costs that are not attributable to the trade

16   secrets in this case. As a result of his failure to apportion, Mr. Persechini included costs in his

17   reasonable royalty for information that is not even at issue in this case. He also has no opinion as to

18   a reasonable royalty for any specific document or any specific piece of information, which is not

19   helpful for the jury in the event that the jury finds some documents are not misappropriated, or some

20   information is not a trade secret.

21            Fourth, Mr. Persechini’s purported adjustments to his baseline royalties based on the

22   Georgia-Pacific factors are unreliable because he fails to explain how he arrived at his final

23   reasonable royalty based on his analysis of the factors, he otherwise admits he has no factual support

24   for and is not qualified to give certain opinions, and some of his opinions are self-contradictory.

25            Mr. Persechini’s opinions do not comport with the requirements of Rule 702 or Daubert and

26   are inadmissible and should be excluded.

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1                                         SUMMARY OF OPINIONS

2             Mr. Persechini is an economic consultant and damages expert. (Ex. 1, Persechini Expert

3    Report ¶ 4.) Although he has worked in that capacity for over 17 and a half years, Mr. Persechini

4    has only testified in one other trade secret case outside of this case and the related arbitration, and

5    has never calculated a reasonable royalty in a trade secret case prior to this case. (Ex. 2, Persechini

6    Dep. at 6:15-19, 7:16-9:15, 10:12-25.) Cisco’s counsel retained Persechini to provide damages

7    opinions resulting from the alleged misappropriation of Cisco’s alleged trade secrets. (Ex. 1, ¶ 1.)

8             A.        Mr. Persechini purports to value the allegedly disclosed trade secret information

9                       regarding Project Sunkist and Project Polaris.

10            The alleged trade secrets at issue in this case are information related to Project Sunkist and

11   Project Polaris, all of which were allegedly disclosed in documents that Dr. Wilson Chung allegedly

12   misappropriated. (Id. ¶ 1, Ex. 2, Dep. at 38:19-38:24.) Project Sunkist is Cisco’s internal name for

13   Cisco’s 730 Headset, which launched commercially in the fall of 2019. (Ex. 1, ¶ 20.) Mr. Persechini

14   claims two documents allegedly disclosed the Sunkist trade secrets. (Id. ¶¶ 21-22.) The first

15   document is a two-page Excel spreadsheet that has no confidentiality markings on it titled Endpoints

16   and Accessories.xlsx (the “EA Document”). (Id. ¶ 32, Figure 3.) The only information in this Excel

17   spreadsheet that Cisco is claiming is a trade secret is one row of information regarding Project

18   Sunkist. (Id.) Mr. Persechini claims that this one row discloses eight pieces of information that

19   constitute Projects Sunkist trade secrets: (1) the product model number; (2) that it would have a USB

20   connection; (3) that it would have a 3.5 mm port; (4) that it would be dual Bluetooth; (5) that it would

21   have stereo sound; (6)                                              ; (7) Qualcomm would supply the

22   chipset; and (8) the chipset would be the QCC5120 1. (Id. ¶ 31.)

23            The second document that allegedly disclosed Cisco’s Sunkist trade secrets is not a Cisco

24   document at all, but rather an email Dr. Chung wrote on June 4, 2019, to other Poly employees (the

25   “June 4 Email”). (Id. ¶ 28.) Mr. Persechini claims that the June 4 Email contains 11 pieces of

26   information that constitute Project Sunkist trade secrets: (1) Cisco was working on a Bluetooth

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     1
         The QCC5120 was not even the chip that was eventually used in the 730 headset. (Id. ¶ 31, n.75.)
28                                               -3-
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1    headset; (2) the headset would have hybrid ANC; (3) when Cisco would announce Project Sunkist;

2    (4) when Project Sunkist would likely be released; (5) what chipset Project Sunkist would use; (6)

3    that Project Sunkist would be boomless; (7) that Cisco would develop on-ear and

4             ; (8) Project Sunkist would include an elongated headset cup to house the microphones; (9)

5    aspects of Project Sunkist’s microphone design; (10) Cisco was investing heavily in Project Sunkist;

6    and (11)                                                   . (Id.)

7             Project Polaris was Cisco’s code name for Cisco’s Webex Desk Pro product, which launched

8    in November 2019. (Id. ¶ 33.) Mr. Persechini admits that he has “not reviewed any evidence in this

9    matter indicating that Dr. Chung shared the Polaris Trade Secrets with Poly or that Poly incorporated

10   the Polaris Trade Secrets into its products or otherwise utilized the Polaris Trade Secrets.” (Id. ¶ 47.)

11            B.        Mr. Persechini admits there is no evidence of any actual loss to Cisco or unjust

12                      enrichment to Poly, so he purports to calculate reasonable royalty damages.

13            Mr. Persechini admits that Cisco suffered no actual loss—no lost profit, no lost revenue, no

14   lost sale, and no lost investment. (Ex. 2, 45:13-45:20, 141:15-143:7, 149:12-153:5.) Mr. Persechini

15   also admits that Poly was not unjustly enriched. (Ex. 1, ¶ 104.) Instead, he purports to measure

16   damages using reasonable royalties. (Id. ¶ 106.) In calculating the reasonable royalties, Mr.

17   Persechini assumes that the parties to the hypothetical negotiation for the alleged Sunkist and Polaris

18   trade secrets are Cisco and Poly. (Id. ¶ 114.) Hence, he offers damages opinions only as to Poly’s

19   alleged misappropriation and has no opinions as to the individual defendants’ (Mr. Puorro and Dr.

20   Chung) alleged misappropriation. (Ex. 2, 38:6-38:9.)

21            Mr. Persechini further assumes that the date of the hypothetical negotiation will be either

22   February 26, 2019, the date the EA Document was allegedly misappropriated, or June 4, 2019, the

23   date of the June 4 Email, for the allegedly misappropriated Sunkist trade secrets, and February 26,

24   2019, for the allegedly misappropriated Polaris trade secrets. (Ex. 1, ¶¶ 111-113.) His sole basis for

25   selecting February 26, 2019, as the date of the hypothetical negotiation for the allegedly

26   misappropriated Polaris trade secrets is that Cisco’s counsel told him to assume that the alleged

27   Polaris trade secrets were misappropriated on that date. (Ex. 2, 40:2-40:12.)

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1             Mr. Persechini applies the “Book of Wisdom” convention to his reasonable royalty analysis,

2    where the parties consider facts and evidence “ex post” to the date of the hypothetical negotiation.

3    (Ex. 1, ¶ 116.)

4             C.        Despite no evidence of use, Mr. Persechini calculates his reasonable royalties by

5                       using Cisco’s forecasted development costs.

6             Without providing any evidence of Poly ever using Cisco’s alleged Sunkist and Polaris trade

7    secrets, Mr. Persechini purports to use a cost approach to calculate the reasonable royalties that the

8    parties would agree to at a hypothetical negotiation. (Id. ¶¶ 120-121, 127-130; Ex. 2, 46:6-46:9.) As

9    the starting point of his calculation, Mr. Persechini used all of Cisco’s forecasted development costs

10   for Projects Sunkist and Polaris through the date of the alleged misappropriation, 2 on the assumption

11   that Cisco’s entire investment in these projects could be lost. (Ex. 1, ¶¶ 141, 151.) Mr. Persechini

12   never analyzed Poly’s development costs in his analysis. (Ex. 2, 47:11-47:19.) Nor did he

13   independently test the accuracy of Cisco’s forecasted development costs, despite knowing that

14   Cisco’s forecasting is not accurate as its forecasted revenue was not comparable to Cisco’s actual

15   revenue. (Id. at 67:4-70:8, 80:12-80:22, 81:17-83:7.) Nor did he check to see if Cisco’s forecasted

16   development costs were even a reasonable starting point as compared to the development costs of

17   any similar products in the industry. (Id. at 54:17-56:10, 89:2-89:15, 94:7-94:11.)

18            Importantly, Mr. Persechini also never apportioned any of Cisco’s forecasted development

19   costs between any of the alleged trade secret information as disclosed in the allegedly

20   misappropriated Sunkist and Polaris documents on the one hand and the costs of development that

21   are unattributable to the alleged trade secrets on the other. (Id. at 104:16-104:25, 108:2-18, 108:19-

22   110:6, 161:10-166:8.) He simply uses all forecasted development costs through his assumed date of

23   alleged misappropriation for Projects Sunkist and Polaris without any apportionment.             (Id.)

24   Accordingly, Mr. Persechini calculates that the baseline royalty for the alleged Sunkist trade secrets

25   is                assuming February 26, 2019 is the date of misappropriation, or            assuming

26

27   2
      Mr. Persechini did not include capital asset expenses for Project Polaris. Project Sunkist does not
     have any capital asset expenses. (Ex. 2, 116:22-117:10.)
28                                                -5-
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1    June 4, 2019 is the date of misappropriation. (Id. ¶ 141.) Mr. Persechini further calculates that the

2    baseline royalty for the alleged Polaris trade secrets is           assuming February 26, 2019 is the

3    date of misappropriation. (Id. ¶ 151.)

4             Mr. Persechini then purports to adjust his baseline royalties based on the Georgia-Pacific

5    factors. (Id. ¶ 309, Figure 43 (citing Georgia-Pacific Corp. v. U.S. Plywood Corp., 318 F. Supp.

6    1116, 1120 (S.D.N.Y. 1970).) Of the 15 Georgia-Pacific factors, Mr. Persechini opines that Factor

7    4 would adjust the royalties upward, Factors 7, 10, and 13 would adjust the royalties downward, and

8    all other factors (with the exception of Factor 15, which is a synthesis of the first 14 factors) would

9    remain neutral. (Id.) From there, he concludes that the baseline royalties should be reduced by

10   for Project Sunkist and          for Project Polaris under Factor 13, which he did not calculate using

11   Poly’s cost of capital return on investment, but rather Cisco’s internal projections for its cost of

12   capital. (Ex. 2, 233:23-234:3.) He then further reduced his baseline royalties to the final reasonable

13   royalty numbers based on Factors 4, 7, and 10 without any dollar-by-dollar or factor-by-factor

14   allocation. (Id. ¶¶ 312-314.) He simply concludes that the final reasonable royalty for the alleged

15   Sunkist trade secrets should be reduced to $1.25 million assuming a date of misappropriation of

16   February 26, 2019, or $2.25 million assuming an alternative date of misappropriation of June 4, 2019,

17   and the final reasonable royalty for the alleged Polaris trade secrets should be reduced to $4.5 million

18   assuming a date of misappropriation of February 26, 2019. (Id.) For Project Sunkist, assuming June

19   4, 2019 is the date of misappropriation, that leaves                  in reasonable royalty reduction

20   without any explanation. (Ex. 2, 100:8-101:25.)

21                                            LEGAL STANDARD

22            A witness who has been qualified as an expert by knowledge, skill, experience, training, or

23   education may give an opinion on scientific, technical, or otherwise specialized topics if (1) the

24   expert’s scientific, technical, or other special knowledge will help the trier of fact understand the

25   evidence or determine a fact in issue, (2) the testimony is based upon sufficient facts or data, (3) the

26   testimony is the product of reliable principles and methods, and (4) the witness has reliably applied

27   the principles and methods to the facts of the case. Rovid v. Graco Children’s Prods. Inc., No. 17-

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1    cv-01506-PJH, 2018 WL 5906075, *3 (N.D. Cal. Nov. 9, 2018) (J. Hamilton) (citing Fed. R. Evid.

2    702 and Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579 (1993)). The proponent of expert

3    testimony bears the burden of establishing by a preponderance of the evidence that the admissibility

4    requirements are met. See Fed. R. Evid. 702, Advisory Committee Notes.

5             The trial court acts as a “gatekeeper” with regard to the admission of expert scientific

6    testimony under Rule 702. Daubert, 509 U.S. at 597; see also Kumho Tire Co., Ltd. v. Carmichael,

7    526 U.S. 137, 147 (1999) (trial court acts as “gatekeeper” to exclude expert testimony that is not both

8    relevant and reliable).          “This entails a preliminary assessment of whether the reasoning or

9    methodology underlying the testimony is scientifically valid and of whether that reasoning or

10   methodology properly can be applied to the facts in issue.” Daubert, 509 U.S. at 592-93.

11            Thus, Daubert requires a two-part analysis—reliability and relevance. Id. at 592-93. In

12   determining whether an expert’s opinion is reliable, the district court can consider “many

13   factors,” including whether a scientific theory or technique can be (and has been) tested; whether

14   there is a known or potential error rate; and whether an expert has unjustifiably extrapolated from an

15   accepted premise to an unfounded conclusion. Daubert, 509 U.S. at 593–95; General Elec. Co. v.

16   Joiner, 522 U.S. 136, 146 (1997) (“[N]othing in either Daubert or the Federal Rules of Evidence

17   requires a district court to admit opinion evidence that is connected to existing data only by the ipse

18   dixit of the expert. A court may conclude that there is simply too great an analytical gap between the

19   data and the opinion proffered.”)).

20            Rule 702’s second prong concerns relevancy, or “fit.” See Daubert, 509 U.S. at 591. Expert

21   opinion testimony is relevant if the knowledge underlying it has a “valid . . . connection to the

22   pertinent inquiry.” Id. at 591-92. As Rule 702 requires, the testimony must “assist the trier of fact

23   to understand the evidence or to determine a fact in issue.” Id. at 591. “[T]he standard for fit is

24   higher than bare relevance.” Redfoot v. B.F. Ascher & Co., No. C 05-2045 PJH, 2007 WL 1593239,

25   at *4 (N.D. Cal. June 1, 2007) (J. Hamilton) (citing In re Paoli R.R. Yard PCB Litig., 35 F.3d 717,

26   745 (3d Cir.1994)).

27

28                                                    -7-
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1             Finally, even under Daubert, the district court must still weigh the balancing factors of

2    Federal Rule of Evidence 403; see also Fed. R. Evid. 402. Specifically, Rule 403 permits the

3    exclusion of relevant evidence “if its probative value is substantially outweighed by the danger of

4    unfair prejudice, confusion of the issues, or misleading the jury.” Redfoot, 2007 WL 1593239, at *4

5    (citing Daubert, 509 U.S. at 595).

6                                                 ARGUMENT

7    I.       Mr. Persechini’s entire reasonable royalty opinion does not fit the facts of the case.
8             Mr. Persechini’s entire opinion suffers from two independent and impermissible flaws. First,
9    his entire hypothetical negotiation erroneously assumes, without explanation or analysis, that Poly
10   would pay a “reasonable royalty” of millions of dollars for a trade secret that Poly never used.
11   Second, Mr. Persechini’s use of all of Cisco’s forecasted development costs in his baseline royalties
12   calculation is based on the disproven supposition that the entire investment in Sunkist and Polaris
13   could be lost in theory, despite the fact that both parties would know that the none of the investment
14   was actually lost. Mr. Persechini’s opinion, therefore, is completely divorced from reality—it is not
15   tied to any facts and has no valid connection to the pertinent inquiry at hand regarding what a willing
16   licensee would pay and what a willing licensor would accept in a Georgia-Pacific hypothetical
17   negotiation. His opinions as a whole should be excluded under Rule 702 and Daubert because they
18   are irrelevant. Bogosian v. Mercedes–Benz of No. America, Inc., 104 F.3d 472, 479 (1st Cir.
19   1997) (excluding as irrelevant expert testimony because in performing test the expert “did not, in any
20   way, attempt to replicate the known facts surrounding the injury-producing event”).
21             A.        The facts do not support the opinion that Poly would pay a reasonable royalty.
22            The DTSA and CUTSA permit plaintiffs to seek payment of a reasonable royalty only in
23   certain cases. Specifically, the DTSA permits imposition of a reasonably royalty only “for the
24   misappropriator’s unauthorized disclosure or use of the trade secret.” 18 U.S.C. § 1836(b)(3)(B)(ii)
25   (emphasis added). The CUTSA limits the imposition of a reasonable royalty to cases where the
26   misappropriator has used the claimed trade secret. Cal. Civ. Code § 3426.3(b) (“If neither damages
27   nor unjust enrichment caused by misappropriation are provable, the court may order payment of a
28                                                 -8-
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1         profile”                      development projects based on its knowledge of purported
      (Persechini Report ¶ 132.)        trade secrets? A. I don’t recall any evidence of cancellation.
2                                       …
3                                       Q. Have you seen any evidence that Poly shifted its risk profile
                                        by lowering its risk in one specific product portfolio and
4                                       increasing its risk in another product portfolio? … A. I
                                        haven’t seen specific where I think Poly talks specifically
5                                       risk.”
                                    (Persechini Dep. at 121:18-130:12.)
6
      “I understand that early      • “Q. Have you seen any evidence that Poly preannounced [its]
7     knowledge of the features         own competing products to Project Polaris based on its
      and components of Project         knowledge of purported Polaris trade secrets? A. No, I have
8     Polaris could allow Poly to       not.”
      take the following actions    • “Q. Have you seen any evidence that Poly accelerated [its]
9     against Cisco:                    project development plans based on its knowledge of the
10    • Pre-announce its own            purported Polaris trade secrets? A. No, I have not.”
          competing product to      • “Q. Have you seen any evidence that Poly reverse engineered
11        Project Polaris               Project Polaris using Polaris’ hardware information as a
      • Accelerate its product          reference based on Poly’s alleged knowledge of purported
12        development plans             Polaris trade secrets? A. … No, I have not.”
      • Reverse-engineer Project • “Q. Have you seen any evidence that Poly changed the prices
13
          Polaris using Polaris         of any of its products or services based on its knowledge of
14        hardware information as       purported Polaris trade secrets? A. No, I have not.”
          a reference               • “Q. Have you seen any evidence that Poly changed its
15    • Change prices                   advertising strategy for any desktop product based on its
      • Change advertising              knowledge of purported Polaris trade secrets? A. I have not.”
16        strategy for desktop      • “Q. Have you seen any evidence that Poly interfered with
17        products                      Cisco’s ability to source materials based on its alleged
      • Interfere with Cisco’s          knowledge of reported Polaris trade secrets? A. I have not.”
18        ability to source         • “Q. Have you seen any evidence that Poly shifted or confirmed
          materials                     its risk profile based on Poly’s knowledge of purported trade
19    • Take no action but shift or     secrets? A. I have not and both parties understand that
20        confirm its risk profile”     under the Book of Wisdom construct.”
      (Persechini Report ¶ 133.)    (Persechini Dep. at 133:23-140:10.)
21
              Furthermore, under the Book of Wisdom convention adopted by Mr. Persechini, he admits
22
     that both Cisco and Poly would know at the hypothetical negotiation that Poly did not in fact take
23
     any of the actions he claimed Poly could take. (Id. at 132:15-20 (“Q. Under the Book of Wisdom
24
     approach, the parties would know that Poly did not, in fact, take any strategic actions against Cisco
25
     that Cisco alleges it could have taken; right? A. That is correct.”) There is no economic basis for
26
     Poly to pay anything, let alone millions of dollars, for alleged trade secrets that it has never used in
27

28                                                - 10 -
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1    the first place (and which via the Book of Wisdom both parties to the negotiation would know would

2    never be used).

3             B.        Mr. Persechini’s use of all of Cisco’s forecasted development costs is based on

4                       the unsupported assumption that Cisco’s entire investment could be lost.

5             Mr. Persechini’s use of all of Cisco’s forecasted development costs is based on the disproven

6    supposition that the entire investment in Sunkist and Polaris could be lost in theory, despite the fact

7    that both parties would know that the none of the investment was actually lost. “[B]eginning from a

8    fundamentally flawed premise . . . results in a fundamentally flawed conclusion.”              Kolcraft

9    Enterprises, Inc. v. Chicco USA, Inc., No. 09 C 03339, 2018 WL 10772693, at *4 (N.D. Ill. July 16,

10   2018) (citing Uniloc USA, Inc. v. Microsoft Corp., 632 F.3d 1292, 1317 (Fed. Cir. 2011)). Here, Mr.

11   Persechini’s use of Sunkist and Polaris’s forecasted “total development costs as the baseline royalty

12   as opposed to some smaller percentage of the development costs is premised on the idea that Cisco’s

13   entire investment was at risk.” (Ex. 2, 143:22-144:4, 150:23-151:13.) But Mr. Persechini admits, as

14   he must, that not only is there no evidence that Cisco lost any investment—let alone its entire

15   investment—Cisco went on to sell both Project Sunkist and Project Polaris products and continues

16   to do so to this day. And, again, under the Book of Wisdom convention adopted by Mr. Persechini,

17   both Poly and Cisco would know at the hypothetical negotiation that Cisco did not lose any

18   investment. More specifically, Mr. Persechini admitted the following in his deposition:

19            •    Q. But we know in fact Cisco’s entire investment was not lost; is that correct? A. That

20                 is correct.

21                 Q. And under your Book of Wisdom approach Poly and Cisco would know that Cisco’s

22                 entire investment would not be lost; right? A. That is correct. (Id. at 152:21-153:5.)

23            •    Q. Are you aware of any evidence that Cisco’s entire investment into Sunkist was

24                 diminished because of Poly’s alleged knowledge of purported Sunkist trade secrets?

25                 A. No, I am not. (Id. at 142:21-143:2.)

26            •    Q. Are you aware of any evidence that Cisco’s “entire investment into Project Polaris

27                 was diminished because of Poly’s alleged knowledge of purported Polaris trade

28                                                 - 11 -
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1                  secrets?” A. No, I'm not. (Id. at 150:7-12.)

2             •    Q. You mentioned that the Project Polaris and project Sunkist were put entirely at risk.

3                  Did those projects actually come to fruition? A. They did. Q. So those investments

4                  weren’t lost? A. No. My understanding is that Sunkist is […] Cisco is selling both the

5                  Webex Desk Pro and the 730 headset. (Id. at 110:7-17.)

6             Because Cisco did not lose any investment, Mr. Persechini does not have any reliable basis

7    or scientifically valid reason to use Cisco’s entire forecasted development cost for Project Sunkist

8    and Project Polaris as the starting point for his reasonable royalty analysis. Rovid, 2018 WL 5906075,

9    *3 (expert testimony must be “based upon sufficient facts or data” and expert must have “reliably

10   applied the principles and methods to the facts of the case”); Daubert, 509 U.S. at 592-93 (expert’s

11   reasoning underlying the testimony must be “scientifically valid” and properly “applied to the facts

12   in issue.”). Mr. Persechini’s reasonable royalty analysis based on this fundamentally flawed premise

13   must be excluded.           Kolcraft Enterprises, 2018 WL 10772693, at *3–4 (“[B]eginning from a

14   fundamentally flawed premise . . . results in a fundamentally flawed conclusion.”).

15            Because Mr. Persechini’s entire opinions do not fit the facts of the case, the Court should

16   exclude them in their entirety.

17   II.      Mr. Persechini’s opinion is independently excludable as unreliable because he uses

18            Cisco’s forecasted development costs to calculate his baseline royalties.

19            Mr. Persechini’s baseline royalties for the alleged Sunkist and Polaris trade secrets, which are

20   equal to Cisco’s cumulative forecasted development costs 3 on the date of the hypothetical negotiation

21   for the two projects respectively, is unreliable for two reasons. First, Mr. Persechini did not even

22   consider Poly’s potential development costs, which is of course the entire premise of the cost

23   approach he purports to use.           Second, Mr. Persechini simply assumed Cisco’s forecasted

24   development costs were accurate as to the amount and timing without any comparisons or analysis,

25

26   3
      Mr. Persechini’s purported reasonable royalty opinions based on all of Cisco’s forecasted
     development costs is nothing more than a back-door attempt to show a hypothetical unjust
27   enrichment by Poly, without proof that Poly has gained anything (Ex. 1, ¶ 104.)
28                                                 - 12 -
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1    and despite the fact that Cisco admittedly did not accurately forecast its revenue. Because Mr.

2    Persechini’s baseline royalties are the starting point for his reasonable royalty analysis, his entire

3    opinion that stems from his baseline royalties is unreliable and inadmissible. See Carbo Ceramics,

4    Inc. v. Keefe, 166 Fed. App’x 714, 724-725 (5th Cir. 2006) (damages inadmissible where the starting

5    point for the damages were speculative projections); Sloan Valve Co. v. Zurn Indus., Inc., 33 F. Supp.

6    3d 984, 1000 (N.D. Ill. 2014) (reasonable royalty calculation based on arbitrary starting point is

7    inadmissible).

8             A.        Mr. Persechini does not reliably apply principles and methods to explain his use

9                       of Cisco’s forecasted development costs for his baseline royalties.

10            Mr. Persechini fails to analyze and explain why Cisco’s forecasted development costs is a

11   reliable metric for Poly’s development costs. Mr. Persechini agrees as a matter of principle that

12   “under the cost approach [] no prudent buyer would pay more for a discrete potential asset than the

13   total cost to construct an intangible of equal desirability and utility[.]” (Ex. 2, 46:15-46:20.) But in

14   arriving at his reasonable royalty opinions, Mr. Persechini did not analyze how much it would cost

15   Poly to create or purchase the alleged trade secret information present in the alleged Sunkist and

16   Polaris trade secret documents. (Id. at 47:11-47:19.) Instead, his analysis was “based on the cost to

17   develop by Cisco.” (Id.) He admits he did not do or consider any efficiency studies as part of his

18   analysis. (Id. at 48:15-48:25.) He therefore has no idea whether Poly, a company with more than 70

19   years of experience in the headset market, could construct a headset more efficiently than Cisco, a

20   company that has been developing headsets for just a few years. (Id.) Said differently, Mr. Persechini

21   wants this Court to accept Cisco’s forecasted development costs as the appropriate metric instead of

22   Poly’s costs, because he said so. His inability to bridge this analytical gap between the data he used

23   (i.e., Cisco’s forecasted development costs) and the opinion he proffered (i.e., those are the costs that

24   a prudent buyer would pay in the hypothetical negotiation) is another reason why his baseline royalty

25   is unreliable. Joiner, 522 U.S. at 146 (“[N]othing in either Daubert or the Federal Rules of Evidence

26   requires a district court to admit opinion evidence that is connected to existing data only by the ipse

27   dixit of the expert. A court may conclude that there is simply too great an analytical gap between the

28                                                 - 13 -
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1    data and the opinion proffered.”). Thus, Mr. Persechini has failed to reliably apply the principles of

2    the cost approach to the facts of the case.

3             B.        Mr. Persechini’s blind reliance of Cisco’s forecasted development costs without

4                       any independent testing is unreliable as a matter of law.

5             Even assuming Cisco’s development costs could be a substitute for Poly’s development costs

6    (they are not), Mr. Persechini’s use of Cisco’s forecasted development costs is inappropriate, as he:

7    (1) made no adjustment for a known error rate but instead assumed without any confirmation that

8    Cisco’s forecasted expenses were reasonable; and (2) assumed that the expenses were incurred at the

9    exact time projected by Cisco, both of which render his baseline royalty unreliable, and show that

10   Mr. Persechini has failed to reliably apply the principles of the cost approach to the facts of the case.

11                      1.       Mr. Persechini did not adjust his forecasted development costs for known
12                               error rates, nor confirm that Cisco’s forecasts were reasonable.
13            Mr. Persechini admits that it is possible that Cisco’s actual development costs for Project
14   Sunkist and Project Polaris “were significantly less than the forecasted development cost,” but he has
15   done nothing to adjust Cisco’s forecasted development costs to address this known error rate. (Ex.
16   2, 51:16-25, 52:12-19.)          In determining whether an expert’s reasoning or methodology is
17   scientifically valid, the district court can consider whether there is a known or potential error rate.
18   Daubert, 509 U.S. at 593–95. Instead, Mr. Persechini simply “assumed Cisco did a good job in [its]
19   forecast.” (Ex. 2, 91:18-22; see also id. at 81:10-16, 91:6-92:4, 93:7-22.) Courts have excluded
20   expert opinions that blindly rely on client’s data with no independent testing. SMS Sys. Maint. Servs.,
21   Inc. v. Digital Equip. Corp., 188 F.3d 11, 25 (1st Cir. 1999) (“[A]n expert must vouchsafe the
22   reliability of the data on which he relies and explain how the cumulation of that data was consistent
23   with standards of the expert’s profession.”); Dean v. Thermwood Corp., No. 10-CV-433-CVE-PJC,
24   2012 WL 90442, at *9 (N.D. Okla. Jan. 11, 2012) (granting the defendant’s motion to strike expert
25   where the expert “did nothing more than blindly accept his client’s version of events”); Rand A Tech.
26   Corp. v. Parametric Tech. Corp., No. 03-CV-11046-MEL, 2005 WL 6768210, at *1 (D. Mass. Oct.
27   19, 2005) (“An expert must do more than simply rely on a client’s representations”).
28                                                    - 14 -
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1             Mr. Persechini admits that he “did not compare the forecasted development expenses for

2    Project Sunkist with the forecasted development expenses for any other headset products,” so he has

3    “no idea whether the forecasted development costs are comparable to the cost to develop other

4    headsets in the industry.” (Ex. 2, 54:17-55:17.) Similarly, he admits he did not “compare the

5    forecasted development expenses for Project Polaris with the forecasted development expenses with

6    any other video conferencing product,” not even “any other Cisco video conferencing product,” so

7    he has no opinion “as to whether the forecasted development expenses for Project Polaris were an

8    appropriate amount for a video conferencing product in the video conferencing industry.” (Id. at

9    55:18-56:10.) Indeed, despite the fact that the majority of Cisco’s forecasted development cost is the

10   cost of employees who worked on Project Sunkist and Project Polaris (“Headcount Cost”), Mr.

11   Persechini never asked Cisco to provide him a list of who was working on those two projects for any

12   given period of time in order to determine whether Cisco had accurately forecasted the Headcount

13   Cost. (Id. at 89:2-15, 94:7-11.) 4 Without any adjustment to his Headcount Cost, or any of Cisco’s

14   forecasted development costs, Mr. Persechini’s reasonable royalty opinion is unreliable and should

15   be excluded. Rand A Tech., 2005 WL 6768210, at *1 (excluding expert testimony because expert

16   accepted client’s budget prediction “without any independent evaluation to confirm its reliability,”

17   and “[a]s a result, both [his] methods and the resulting conclusion as to damages lack basic indicia

18   of reliability”); Dean, 2012 WL 90442, at *9 (granting the defendant’s motion to strike expert where

19   the expert “did nothing more than blindly accept his client’s version of events”).

20                      2.       Mr. Persechini prorates his forecasted developments costs, despite evidence

21                               that the forecasts were not accurate as to timing.

22            Mr. Persechini’s use of prorated development costs is based on an unreliable methodology

23   and not tied to the facts of the case. For his baseline royalties for Sunkist and Polaris, Mr. Persechini

24   assumes that Cisco accurately forecasted the timing of its forecasted development costs, and performs

25
     4
        Mr. Persechini argues that forecasted development costs are appropriate because Cisco does not
26   track actual development cost. (Ex. 2, 49:21-51:15.) But even if that were true, Mr. Persechini has
     not adjusted the forecasted development costs based on the other metrics that were available to him,
27   or confirmed that the numbers that Cisco has forecasted are in fact reasonable, beyond looking at
     Cisco’s forecasted revenues, which also do not support Mr. Persechini’s conclusions.
28                                               - 15 -
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1    simple division and multiplication to determine the development costs that were expended as of his

2    assumed dated of misappropriation. (Ex. 2, 87:14-87:16.) He claims that “Cisco’s actual 730 headset

3    revenue is comparable to the projected revenue for Project Sunkist” and that gives him “a degree of

4    confidence that the forecasted development costs are probably in the same ballpark.” (Id. at 60:20-

5    62:4.) But as his own analysis shows,

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14                                                His purported explanation is therefore nothing more than

15   speculation and ipse dixit, which is not allowed.           Joiner, 522 U.S. at 146 (“[N]othing in

16   either Daubert or the Federal Rules of Evidence requires a district court to admit opinion evidence

17   that is connected to existing data only by the ipse dixit of the expert.”).

18            Similarly, Mr. Persechini’s own analysis shows that

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     5
25     Mr. Persechini’s arbitrary decision to prorate Cisco’s entire forecasted development costs for
     Project Polaris to February 26, 2019 (Ex. 2, 40:2-40:12) is unreliable for the additional reason that
26   he, again, assumes without basis that Poly misappropriated Cisco’s alleged Polaris trade secrets on
     this date, based solely on a request from Cisco’s counsel. See Rovid, 2018 WL 5906075, *3 (expert
27   testimony must be “based upon sufficient facts or data” and the expert must have “reliably applied
     the principles and methods to the facts of the case”); Daubert, 509 U.S. at 592-93.
28                                                - 16 -
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1

2

3                                                                        Given the unreliability of Cisco’s

4    forecast as shown by Mr. Persechini’s own analysis of Cisco’s forecasted revenue, Mr. Persechini’s

5    use of Cisco’s forecasted development costs with no independent testing renders his entire opinion

6    unreliable. No reliable basis exists for Mr. Persechini’s use of forecasted Cisco development costs

7    as a baseline royalty when the

8

9             Mr. Persechini’s attempt to use Cisco’s forecasted development costs to try to show the value

10   to Poly cannot survive Daubert when he has done no analysis to show that Cisco’s forecasted

11   development costs matched Poly’s development costs, or that they are comparable to the

12   development costs in the industry, or that Poly gained any advantage from the development costs.

13   There is simply no economic basis to support Mr. Persechini’s conclusion that this is what Poly

14   would be willing to pay at the hypothetical negotiation, and Mr. Persechini has failed to apply any

15   reliable methodology accurately to the facts of the case.

16   III.      Mr. Persechini fails to apportion damages to the alleged trade secrets.
17            Even assuming Mr. Persechini’s flawed baseline royalties pass Daubert, his reasonable
18   royalty opinions still fail under both the reliability and the relevance prongs of Rule 702 and Daubert
19   because he failed to perform any apportionment of Cisco’s forecasted development costs to the
20   alleged trade secrets at issue in this case. Damages experts must apportion damages actually
21   attributable to the allegedly misappropriated trade secrets. In re Avaya Inc., No. 17-10089 (SMB),
22   2018 WL 1940381, at *8 (Bankr. S.D.N.Y. Apr. 23, 2018), aff’d 602 B.R. 445 (S.D.N.Y. May 6,
23   2019) (holding that apportionment is required where a product includes both legitimately acquired
24   benefits and misappropriated trade secrets, and apportioning the value of a trade secret based on “the
25   cost or price of a component compared to the cost of the entire multi-component product” was
26   appropriate) (collecting cases); Waymo LLC v. Uber Techs., Inc., No. C-17-00939-WHA, 2017 WL
27   5148390, at *4, *6 (N.D. Cal. Nov. 6, 2017) (“It was absurd for [damages expert] to simply attribute
28                                                - 17 -
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1    [the] full sticker price to the value of a single asserted trade secret.”). Mr. Persechini has failed to

2    meet this most basic requirement of any trade secret reasonable royalty opinion.

3             Mr. Persechini’s failure to apportion between the alleged trade secrets at issue in this case on

4    the one hand and the rest of Project Sunkist and Project Polaris not disclosed by the allegedly

5    misappropriated documents on the other hand renders his opinion unreliable. Cisco alleges that the

6    EA Document contains eight pieces of information that constitutes Projects Sunkist trade secrets. 6

7    (See supra at p. 3.) Cisco also alleges that the June 4 Email contains 11 pieces of information that

8    constitutes Project Sunkist trade secrets. (See supra at pp. 3-4.) 7 Mr. Persechini admits that these

9    alleged trade secrets only comprise a portion of the total Project Sunkist and Project Polaris products.

10   (Ex. 2, 104:9-104:15.) But he admits that he has not done any quantitative analysis to determine how

11   much of Project Sunkist and Project Polaris is trade secret versus what is not a trade secret. (Id. at

12   104:16-104:25.) Specifically, he admits that he:

13            •    Did not provide any sort of feature count as to what is allegedly disclosed in the trade

14                 secrets versus what has not been disclosed (id. at 108:2-18);

15            •    Did not determine how much of the development cost was needed to develop the alleged

16                 trade secrets as opposed to the non-disclosed portions of Project Sunkist and Project

17

18   6
       The QCC5120 was not even the chip that was used in the 730 headset. (Ex. 1, ¶ 31, n.75.) Cisco
     cannot possibly contend that false information constitutes its trade secret. As such, assuming that
19   the Court agrees that at a minimum this alleged “fact” cannot be a Cisco trade secret, Mr. Persechini
     does not have a damages opinion to offer for the jury, as the only opinion he provided is the opinion
20   as to damages for every trade secret that Cisco has alleged to be a trade secret in Sunkist through the
     EA Document and the June 4 Email. (Ex. 2, 27:11-30:22, 34:2-34:21.)
21   7
         Cisco’s Second Amended Trade Secret Disclosure admits that “Dr. Chung’s alleged
     misappropriation of the Project Sunkist information is expressly limited to that information in the EA
22   document,” pursuant to the Court’s explicit instructions that Cisco had failed to adequately plead that
     Dr. Chung had misappropriated any other information related to Project Sunkist. (Ex. 3, 2d Am.
23   Trade Secret Discl. at 5:5-5:6; Dkt. No. 97 at 46:13-46:17 (“Absent leave of court or consent of
     defendants, plaintiff may not otherwise amend its pleadings. That prohibition extends to any attempt
24   by plaintiff to expand its allegations to information that falls outside the subject matter previously
     found to have satisfied the sufficient particularity pleading requirement.”); Dkt. No. 168 at 32:10-
25   32:11 (“In the event plaintiff again attempts to expand the scope of its disclosure in violation of this
     court’s prior orders, the court may issue sanctions.”).) As such, any information in Dr. Chung’s June
26   4 Email that is not from the EA Document is an improper attempt by Cisco to expand the scope of
     its Second Amended Trade Secret Disclosure in direct violation of the Court’s prior order, and as
27   such, Mr. Persechini’s alleged reasonable royalty improperly accounts for alleged trade secret
     information that is not in this case. (Id.)
28                                                - 18 -
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1    admits that because he never attributed costs to the specific documents and the pieces of information

2    allegedly disclosed in those documents at issue in this case, if the court finds that certain documents

3    or specific information that Dr. Chung is alleged to have taken were not in fact trade secrets, or were

4    not in fact misappropriated, he has no opinion as to a reasonable royalty for any specific document

5    or any specific piece of information. (Ex. 2, 27:11-30:22, 34:2-34:21.) Mr. Persechini’s opinion

6    therefore is not helpful for the fact finder and should be excluded on that basis alone. LivePerson v.

7    [24]7AI, No. 17-CV-01268-JST, 2018 WL 6257460 (N.D. Cal. Nov. 30, 2018) (excluded damages

8    expert’s opinion “because he does not apportion trade secret misappropriation damages among

9    particular alleged trade secrets, and offers no methodology for the jury to calculate trade secret

10   misappropriation damages on fewer than all of the 28 alleged trade secrets in the case”); MSC

11   Software Corp. v. Altair Eng’g, Inc., No. CV 07-12807, 2015 WL 13273227, at *12 (E.D. Mich.

12   Nov. 9, 2015) (excluding damages expert’s reasonable royalty opinion because his “lump sum

13   reasonable royalty analysis is based on his perception of an irrelevant hypothetical negotiation which

14   was not directed and confined to the three trade secrets that were misappropriated.”).

15   IV.       Mr. Persechini’s purported adjustments to his baseline royalties are unreliable.
16            Mr. Persechini’s purposed adjustments to his baseline royalties based on the Georgia-Pacific
17   factors are nothing more than impermissible ipse dixit. Courts have routinely excluded damages
18   expert opinions that fail to bridge the analytical gap between discussions of the Georgia-Pacific
19   factors and the final adjustments. See, e.g., Waymo, 2017 WL 5148390, at *8 (excluding reasonable
20   royalty opinion because the damages expert “made no attempt whatsoever to bridge the analytical
21   gap” between his discussion of unquantified ‘neutral’ and ‘increase’ factors in a hypothetical
22   licensing negotiation and his decision to simply raise his [reasonable royalty] numbers by ten percent
23   across the board”); Mettler-Toledo, Inc. v. Fairbanks Scales, Inc., No. 9:06-CV-97, 2008 WL
24   11348468, at *3 (E.D. Tex. Oct. 27, 2008) (excluding reasonable royalty opinion because the
25   damages expert “chose 1% for all Georgia-Pacific factors, regardless of how strongly a factor
26   favored adjustment”); ePlus, Inc. v. Lawson Software, Inc., 764 F. Supp. 2d 807, 815 (E.D. Va. 2011)
27   (excluding reasonable royalty opinion because damages expert’s failure to explain how the Georgia-
28                                               - 20 -
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1    Pacific factors permitted adjustments “how it was that the application of any one or all of those

2    [Georgia-Pacific] factors would permit an increase in the base royalty rate of approximately 100%”

3    is “quintessential ipse dixit” and “precisely that kind of opinion that Daubert, Kumho,

4    and Joiner require the district courts to exclude.”).

5             Mr. Persechini’s reasonable royalty opinions should be excluded because he fails to explain

6    how he arrived at his final reasonable royalty based on his purported analysis of the Georgia-Pacific

7    factors. Of the 15 Georgia-Pacific factors, Mr. Persechini opines that Factor 4 would adjust the

8    royalties upward, Factors 7, 10, and 13 would adjust the royalties downward, and all other factors

9    (with the exception of Factor 15, which he opines is a synthesis of the first 14 factors) would remain

10   neutral. (Ex. 1, ¶ 309, Figure 43.) 10 From there, he concludes that the baseline royalties should be

11   reduced to the final reasonable royalties with no discernable methodology. (Id. ¶¶ 312-314.) Take

12   his reduction to the alleged June 4, 2019 Sunkist baseline royalties for example, Mr. Persechini

13   admits that he had reduced the baseline royalty from                  to                based on Poly’s

14   expected return on investment of         based on his analysis of Factor 13 (which is itself problematic

15   for the reasons explained below).        (Ex. 2, 99:15-99:22.)    He admits that he further reduced

16                      to $2,250,000.00, which was the final reasonable royalty that he proffered. (Id. at

17   99:23-100:7.) Mr. Persechini admits that he has no dollar-by-dollar or factor-by-factor allocation,

18   nor any formulas, to explain the                 reduction to reach the final reasonable royalty. (Id. at

19   100:8-101:25.) Because Mr. Persechini completely failed to specify his methodology behind his so-

20   called adjustments, his entire reasonable royalty opinions should be excluded.

21            At a minimum, Mr. Persechini should not be allowed to offer his opinions as to Factor 4, 7,

22   10, and 13, which would then render his entire Georgia Pacific analysis irrelevant. For Factor 4 (the

23   licensor’s established policy regarding licensing), Mr. Persechini claims that this factor would have

24

25   10
       Factor 4 is licensor’s established policy regarding licensing; Factor 7 is the duration of the Trade
     Secrets and the term of the license; Factor 10 is the nature of the Trade Secrets and their benefits to
26   the user; and Factor 13 is apportionment of the realizable profit between that which should be
     credited to the Trade Secrets as distinguished from non-trade secreted elements, the manufacturing
27   process, business risks, or significant features or improvements added by the infringer. (Id. ¶¶ 308-
     309, Figure 43.)
28                                                 - 21 -
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1    an upward impact on royalties because “Cisco goes to great lengths to protect the confidentiality of

2    its projects and business operations,” (Ex. 1, ¶ 309, Figure 43), but he fails to provide any citation

3    for this opinion. (Ex. 2, 208:5-208:18.) Indeed, Mr. Persechini admits that he is not even qualified

4    to provide such an opinion because he is not an e-data, asset recovery, or Company security expert.

5    (Id. at 208:19-209:2.) He has not considered—because he does not even know—that, among others:

6    (1) Cisco did not mark the EA Document with any confidentiality labeling let alone trade secret

7    labeling (id. at 209:24-212:20); (2) Cisco simply classified Dr. Chung’s MacBook Pro as lost after

8    Dr. Chung refused to return it and took no action to recover the laptop for eight months (id. at 205:8-

9    208:4); and (3) Cisco took no action to recover the alleged hard drive that Cisco claims Dr. Chung

10   has used to download documents related to Project Polaris until it reached out to Poly more than six

11   months after Dr. Chung left Cisco (id. at 213:13-214:21). Mr. Persechini therefore has no opinion

12   on the appropriate method to protect trade secret information, the steps that Cisco has not taken to

13   protect its alleged trade secrets, and the efficiency of any of the steps Cisco has taken to protect its

14   alleged trade secrets. (Id. at 203:16-19, 209:3-12.) Mr. Persechini’s baseless opinion that Georgia-

15   Pacific Factor 4 has an unquantifiable upward impact on his baseline royalty is therefore nothing

16   more than ipse dixit from an unqualified expert that would only be prejudicial.

17            For Factor 7 (the duration of the Trade Secrets and the term of the license), Mr. Persechini’s

18   final reasonable royalty figures for Project Sunkist are directly at odds with his opinion regarding

19   this factor, further highlighting the lack of methodology in his purported adjustments. Mr. Persechini

20   opines that the value of non-public competitive information for an unreleased product tends to be

21   reduced as the product announcement or release draws nearer, as the recipient of the information has

22   less time to react strategically to the information. (Ex. 1, ¶ 191.) But Mr. Persechini contradicts his

23   own opinion by offering two alternative reasonable royalty amounts for Project Sunkist, where the

24   reasonable royalty amount for the later date ($2.25 million assuming the date of misappropriation is

25   June 4, 2019) is higher than the reasonable royalty amount for the earlier date ($1.25 million

26   assuming the date of misappropriation is February 26, 2019). (Id. at ¶¶ 312-313.) If the value of

27   non-public competitive information would decrease as the public announcement draws nearer, as Mr.

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1    Persechini claims, one would expect Persechini’s damages amount in his June calculation to be lower

2    than the damages amount in his February calculation because Project Sunkist was allegedly publicly

3    announced in November 2019. 11 Mr. Persechini attempts to explain the inherent conflict in his

4    opinion by opining that the June royalties are higher because Poly would have the benefit of further

5    development in that project, and Cisco would have spent additional funds for that project by then.

6    (Ex. 2, 190:10-191:25.) Under that strained logic, if Poly had misappropriated Cisco’s alleged trade

7    secrets the day before they were announced, Poly would have to pay an even higher amount than

8    $2.25 million in reasonable royalty, even though the information would become public the next day,

9    and Poly would have no time to act on the alleged trade secrets. (Id. at 194:17-195:18.) Mr.

10   Persechini’s self-contradicting analysis of Factor 7 is yet another reason why his opinions are

11   fundamentally flawed and unreliable.

12            For Factor 10 (the nature of the trade secrets and their benefits to the user), Mr. Persechini

13   utterly fails to apportion costs attributable to the allegedly disclosed trade secrets for Projects Sunkist

14   and Polaris, as detailed above in Section III. Mr. Persechini somehow opines, however, that this

15   factor is downward because the alleged trade secrets at issue in this case “comprise just a portion of

16   the Polaris and Sunkist products.” (Ex. 1, ¶ 309, Figure 43.) But other than this general statement,

17   he admits that he has not done any analysis to apportion costs attributable to the allegedly disclosed

18   trade secrets. (Ex. 2, 227:6-227:11.) 12 His sole basis for concluding this factor resulted in an

19   unquantifiable amount of downward pressure is based on “his professional experience and

20   judgement.” (Id. at 105:10-15.) 13 Mr. Persechini’s ipse dixit opinion with no methodology and no

21   analysis whatsoever on apportionment is precisely the type of unreliable opinion that Rule 702 and

22

23   11
        Indeed, Mr. Persechini admits that he failed to even consider evidence showing Cisco had already
     released information about its alleged trade secrets prior to November 2019 through Cisco Live,
24   which is Cisco’s annual customer and partner conference that has more than 500,000 attendees, in
     June 2019 (Ex. 4), Cisco’s annual sales event that took place in Las Vegas in August 2019 before
25   18,000 attendees (Ex. 2, 254:3-259:9), and in emails to customers in September 2019 (id. at 239:21-
     254:2).
26   12
        “Q. But you have no idea what portion of the products actually are the trade secrets; right? A. I
     have not done a feature by feature account or something like that, as we have discussed.”
27   13
        “Q. How did you determine how much G-P Factor 10 should reduce the reasonable royalty? A.
     […] looking at G-P factors in their entirety and using my professional experience and judgment.”
28                                                - 23 -
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1    Daubert are meant to exclude.

2             For Factor 13 (apportionment of the realizable profit between which should be credited to the

3    Trade Secrets as distinguished from non-trade secreted elements), which is the only factor for which

4    Mr. Persechini provided any formulation, his methodology is unsound. Mr. Persechini opines that

5    Poly would expect a              return on investment on Project Sunkist and   return on investment on

6    Project Polaris. (Ex. 1, ¶¶ 297-305.) But he arrived at these numbers not by looking at Poly’s cost

7    of capital return on investment, but rather Cisco’s internal projections for its cost of capital. (Ex. 2,

8    233:23-234:3.) Mr. Persechini offers no explanation why Cisco’s internal projections for its cost of

9    capital is a good yardstick for Poly’s cost of capital return on investment. And, as explained above,

10   Factor 13 alone does not explain the total amount of adjustment that Mr. Persechini made to his

11   baseline royalties. Furthermore, as detailed above in Section III, this factor should account for the

12   trade secret elements of the product as compared to the non-trade secret elements. But Mr. Persechini

13   does not apportion, and instead performs his unrelated return on investment calculation in order to

14   skip over the analysis he should have actually performed in connection with Factor 13.

15            Mr. Persechini’s purported adjustments pay mere lip service to the Georgia-Pacific factors in

16   order to proffer ultimate damages figures to the jury as if they are based on a scientific methodology

17   and sound economics. They plainly are not. Numbers have power and Cisco should not be permitted

18   to present unfounded opinions to a jury as if they are based on sound expert methods.

19                                                  CONCLUSION

20            For the reasons detailed above, Mr. Persechini’s opinions should be excluded in their entirety.

21

22
     Dated: November 3, 2022                       Respectfully submitted,
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